 Case: 1:24-cv-00051 Document #: 126 Filed: 07/02/24 Page 1 of 1 PageID #:675

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

IKEA Supply AG
                               Plaintiff,
v.                                                    Case No.: 1:24−cv−00051
                                                      Honorable Sara L. Ellis
Convoy, Inc., et al.
                               Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, July 2, 2024:


       MINUTE entry before the Honorable Sara L. Ellis: The Court grants Defendant's
motion for entry of default judgment [124]. The Court enters default judgment against the
non−responsive Defendants and orders that they may not partake of the interplead funds.
Defendant Hercules should submit a proposed default judgment order to the Court's
proposed order email. No appearance required on 7/2/2024. Mailed notice(rj, )




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